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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 Louis E. Gulley,                                )
                                                 )
                          Plaintiff,             )
                                                 )
         vs.                                     )   Case No. 17-cv-08209
                                                 )
 Dr. Jonathan Kelly,                             )   Honorable Edmond E. Chang
                                                 )
                          Defendant.             )



            MOTION FOR LEAVE TO WITHDRAW AS COUNSEL OF RECORD

       Movants William D. Heinz and Richard P. Steinken respectfully move this Court for leave

to withdraw as counsel of record for Plaintiff Louis E. Gulley. In support of their motion, Movants

state as follows:

       1.         On June 16, 2020, William D. Heinz was appointed by this Court to represent

Plaintiff Louis E. Gulley in the District Court in his 1983 action.

       2.         On September 6, 2022, final judgment was entered in this litigation in the U.S.

District Court.

       3.         Court-appointed trial counsel have duly advised Plaintiff Louis E. Gulley of his

right to file an appeal in the District Court and the appellate time limits.

       4.         Court-appointed counsel have also advised Plaintiff Louis E. Gulley of his ability

to seek the appointment of counsel on appeal.
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       Wherefore, Movants respectfully request entry of an order granting their leave to withdraw

their appearance as counsel of record for Plaintiff Louis E. Gulley.

Dated: September 9, 2022                     Respectfully submitted,


                                             By: /s/ William D. Heinz
                                                 One of the Attorneys for Plaintiff

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                               CERTIFICATE OF SERVICE

       I, William D. Heinz, an attorney, certify that I caused a copy of the foregoing Motion for

Leave to Withdraw As Counsel of Record upon all counsel of record via the ECF Pacer system

on September 9, 2022, and by UPS to Plaintiff Louis E. Gulley.


                                            /s/ William D. Heinz




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